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                     EXHIBIT"1"
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      1   TERRENCE A. BEARD, State Bar No. 98013              COoFo~~~PY
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          Attorneys for Plaintiff TIMOTHY CHERRY
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      8
               SUPERIOR COURT OF CALIFORNIA,COUNTY O~ CONTRA COSTA
      9
                                                                                 BC~75585
      10 TIMOTHY CHERRY,                                No:

      11             Plaintiff,                         COMPLAINT FOIE DAMAGES

      12 vs.                                            1).       Strict Liability

      13 DOMETIC CORPORA~'ION, a Delaware               2).       Negligence
         corporation, and DQES 1 to 50,
      14 inclusive,                                     3).       Negligence -Post-Sale Duty to
                                                                  Wa,~n
      15             Defendants.
                                                        4).       Negligence -Post Sale Duty to
      16                                                          Conduct Adequate RecalURetrofit

      17                                                 5).      Negligence Per Se

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                                      COMPLAINT FOR DAMAGES
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      1 ~ Plaintiff alleges:
     2                                              PARTIES
     3 Plaintiffs:
     4    1.     Plaintiff TIMOTHY CHERRY is, and at all times mentioned herein was, an
      5          individual and resident of the City of Castaic, County of Los Angeles, California.
     6           At all times relevant hereto, Plaintiff owned a 2007 Weekend Warrior toy hauler
     7           trailer, VIN No. SHRFF32357C018618 (hereinafter the "RV"), equipped with a
      8          Dometic Model RM 2852 gas absorption refrigerator, installed as original equipment
     9          (hereinafter the "REFRIGERATOR").
     10 Defendants:
     11   2.     Defendant DOMETIC CORPORATION("Dometic"), at all times mentioned herein,
     12          was a corporation organized and existing under the laws of the state of Delaware,
     13          with its headquarters and principal place ofbusiness at 13551 Triton Park Blvd.,Suite
     14          1000, Louisville, Kentucky 40223. Dometic is authorized to transact business and
     15          is doing business in California. Dometic's principal business is the design.
     16          manufacture, sale, and distribution of gas absorption refrigerators for installation in
     17          recreational vehicles and boats.      Plaintiff is informed and believes, and thereon
     18          alleges, that Dometic -either directly or in conjunction with affiliated and/or related
     19          companies - designed, manufactured, assembled, marketed, sold, distributed and/or
     20          otherwise placed the REFRIGERATOR into the stream of commerce. Plaintiff is
     21          further informed and believes, and thereon alleges, that Dometic -either directly or
     22          in conjunction with affiliated and/or related companies -acquired the assets and
     23          assumed the liabilities ofprevious entities engaged in the design and manufacture of
     24          Dometic-branded gas absorption refrigerators and component parts. At all times
     25          since said acquisition,Dometic has continued the design, manufacture,assembly,sale
     26          and distribution of said products, thereby assuming liability for defects in Dometic-
     27          branded gas absorption refrigerators designed and manufactured by Dometic's
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      1        predecessor or affiliate entities, including, but not limited to,the REFRIGERATOR.
     2 3.      Plaintiff is ignorant of the true names and capacities of the Defendants sued herein
     3         as DOES 1 to 50, inclusive, and therefore sues these Defendants by such fictitious
     4         names. Plaintiff will amend this Complaint to allege the true names and capacities
     5         of these Defendants when they are ascertained.
     6 j 4.    Plaintiff is informed and believes and thereon alleges that each of the Defendants,
     7         including the fictitiously named Defendants, are responsible in some manner for the
     8         occurrences alleged herein, and that Plaintiff's damages were proximately caused by
     9         their conduct. Plaintiffis further informed and believes and thereon alleges that the
     10        Defendants, and each ofthem,including the fictitiously named Defendants, were the
     11        agents, servants and employees of their co-Defendants, and in doing the.. things
     12        hereinafter alleged, were acting in the course and scope of their authority as such
     13        agents, servants and employees, and with the permission and consent of their co-
     14        Defendants.
     15   5.   Each Defendant, including fictitiously-named Defendants, herein alleged to have
     16        committed any affirmative act, did and committed the same pursuant to a common
     17        plan and scheme among all the Defendants herein named, including the fictitiously
     18        named Defendants, and did so as a co-conspirator and as the agent for each and all
     19        of his or her co-Defendants and pursuant to and in furtherance of such Defendants'
     20        conspiracy, common plan and scheme.
     21   6.   Whenever reference is made in this Complaint to "Defendants" or to "Dometic"
     22        doing any act, such allegation shall be deemed to mean the act of each Defendant,
     23        including each fictitiously-named defendant,acting individually,jointly and severally,
     24        and the conspiring of these Defendants with each other to so act.
     25        GENERAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
     26 7.     Plaintiffis informed and believes and thereon alleges that beginning at least in 1996,
     27        and continuing thereafter, Defendants, and each ofthem,and/or their predecessors in
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      1       interest, designed, manufactured, assembled, marketed, sold and otherwise placed
      2       Dometic-branded gas absorption refrigerators into the stream ofcommerce for use in
      3       recreational vehicles and boats. The gas absorption refrigerators came. in various
      4       sizes,including6 cu ft.(RM/DM2652,RM/DM2662& RM/DM2663,RM/DM 3662
      5       and RM/DM 3663); 8 cu ft.(RM/DM2852,RM/DM2862,RM/DM3862,RM3863);
      6       9.2 cu ft.(NDM1062), and 12 cu. ft.(RM 1350). All of these refrigerator models
      7       shared the same gas absorption technology, which involved a process whereby a
      8       solution of ammonia, water, sodium chromate and hydrogen gas is heated by
      9       electricity or propane until it boils(approximately 400 degrees Fahrenheit), releasing
     10        ammonia gas. The gas circulates through a series oftubes at approximately 450 psi.
     11        As the ammonia gas is first condensed to a liquid, and then evaporated through
     12       interaction with the hydrogen gas, heat is removed from the refrigerator box, causing
     13       the temperature in the box to decrease and providing the refrigeration effect. The
     14        series oftubes is referred to as a"cooling unit", and includes the heat source(propane
     15        and electric), as well as a condenser, evaporator, absorber and solution tank.
     16 8.     The Defendants have admitted that the cooling units used on their Dometic-branded
     17        gas absorption refrigerators contain identical design and/or manufacturing defects that
     18        cause leaks of flammable, toxic and carcinogenic chemicals, and fires.            The

     19        Defendants have initiated two(2)product safety recalls ofits 6,8 and 9.2 cu. ft. two-
     20        door refrigerators through the National Highway Traffic Safety Administration
     21       (NHTSA)-one in 2006(NHTSA No.06E-076)and one in 2008(NHTSA No. 08E-
     22        032).    Both recalls involved the same defect in the refrigerator cooling units,
     23        misleadingly described by Defendants as a "fatigue crack" that results in a "loss of
     24        cooling solution". In fact,the common defect shared by all Defendants'6,8,9.2 and
     25        12 cubic foot models of gas absorption refrigerator was a propensity for the steel
     26        tubing used in the cooling units to corrode from the inside, causing thinning of the
     27        walls ofthe steel tubing. The corrosion was, and is, the result ofthe common design
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      1          of the boiler tube assembly of the refrigerator cooling units, which concentrated the
      2          transfer of heat generated by the electric heaters in a very small area of the thin-
      3 ,        walled steel tubing. This concentration of heat -when combined with the stresses
      4          introduced into the tubing during the fabrication and manufacturing process, and the
      5          stresses placed on the tubing during normal operation of the refrigerators - namely,
      6          high temperature, high pressure, steep temperature gadients, cyclic stress, and
      7          chemical interaction ofthe corrosive cooling solution -resulted in cooling units that
      8          were prone to develop corrosion leading to microscopic pits and cracks on the interior
      9          surface of the "boiler tube" -the section of the cooling unit where the electric heat
     10          inputs are welded to the cooling unit, and where the boiler tube is dimpled to hold an
     11          interior "percolator tube". Once the corrosion starts, it is a mechanical process which
     12          eats away at the interior surface ofthe cooling unit boiler tube,regardless of whether
     13          the refrigerator is operating or not. The cracks and pits caused by the corrosion
     14          eventually thin the wall of the boiler tube to the point where the remaining steel can
     15          no longer withstand the normal internal pressures inherent in the design of the
     16          Dometic-branded gas absorption refrigerators, causing through-wall cracks of the
     17          boiler tube.
     18     9.   The sodium chromate component of the cooling solution in Dometic-branded gas
     19          absorption refrigerators, including the REFRIGERATOR,is a Level 1 carcinogen.
     20          The American Conference of Governmental Industrial Hygienists (ACGIH) has
     21          classified the carcinogenic effects ofsodium chromate as A1 -confirmed for humans.
     22          The International Agency for Research on Cancer (IARC) has classified the
     23          carcinogenic effects ofsodium chromate as Level 1 -proven for humans. The State
     24          of California has listed sodium chromate as a chemical known to the State to cause
     25          cancer and reproductive harm inhumans - requiring a Proposition 65 warning -since
     26          February 27, 1987. Sodium chromate is corrosive, and may be fatal if absorbed
     27          through the skin. If inhaled, it causes respiratory tract irritation, and is destructive
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      1         to the tissues of the mucous membranes and upper respiratory tract in humans.
      2         Inhalation risks include ulceration and perforation of the nasal septum, pulmonary
      3         edema,and allergic asthma. Symptoms of sodium chromate inhalation include sore
      4         throat, coughing, shortness of breath, and labored breathing.
      5   10.   The leaks caused by cracks and pits in the boiler tube assembly of Dometic-branded
      6         gas absorption refrigerators allow the toxic and carcinogenic sodium chromate to be
      7         released at high pressure into the refrigerator cabinet, and from there, into the living
      8         space of an RV or boat. These leaks also allow the highly flammable cooling
      9         solution -ammonia and hydrogen gas - to leak from the cooling unit in the area of
     10         the electric heaters and propane pilot light, both of which are competent ignition
     11         sources. The hydrogen gas, in particular, is extremely flammable and explosive,and
     12         can be detonated by a high pressure release from a crack in the boiler tube wall in the
     13         absence ofany other ignition source. Further, when the solution in the cooling unit
     14         is reduced by as little as twenty percent(20%), the cooling unit can experience a
     15         "run-away heating event" that causes the steel tubing to reach temperatures in excess
     16         of 1000 degrees Fahrenheit, resulting in leaks in the boiler tube and fires, either by
     17         ignition of the escaping flammable gases, or by ignition of the combustible
     18         unprotected wood inside the refrigerator compartment. The Defendants concede that
     19         such leaks in their gas absorption refrigerator cooling units carry the risk of "injury
     20         or death" to individuals using their products as designed and intended, and for a
     21         reasonably foreseeable purpose.
     22   11.   In addition to the failure of the cooling unit tubing of Defendants gas absorption
     23         refrigerators described above, Defendants' 6, 8, 9.2 and 12 cu. ft. gas absorption
     24         refrigerators' cooling units also contain further design/manufacturing defects,
     25         including, but not limited to, a "safety fuse." The safety fuse is a plug made oflow
     26         melting point tin-bismuth alloy that is inserted into the end of a threaded tube in the
     27         solution tank. The safety fuse is designed to melt and "blow out" at relatively low
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      1         temperatures (less than 300 degrees Fahrenheit), thereby depressurizing the cooling
      2         unit before it ruptures. However,the safety fuse plug operates on temperature and not
      3         on pressure, making it wholly ineffective as a pressure relief system, i.e. it does not
      4         prevent the cooling unitfrom rupturing due to high pressure. Further, when the safety
      5         fuse "blows out" because it is exposed to heat - as in a fire - it releases the cooling
      6         solution into the enclosed space of the refrigerator compartment at over 450 p.s.i.,
      7         creating a cloud of highly flammable ammonia and hydrogen gas - as well as toxic
      8         and carcinogenic sodium chromate -which permeates the living space of an RV
      9         and/or boat, and is then inhaled by anyone present, and/or ignited by any available
     10         ignition source. The effect of this "safety" device -when operating as designed - is
     11         to expose occupants of an RV or boat to dangerous and toxic substances, and either
     12         to initiate a fire where none existed, or make a small fire much worse. This is a
     13         common defect present in all of Defendants' 6, 8, 9.2 and 12 cu. ft. gas absorption
     14         refrigerators, including the REFRIGERATOR.
     15   12.   The defects inherent in the design of Defendants' 6, 8, 9.2 and 12 cu. ft. Dometic-
     16         branded gas absorption refrigerators created serious safety risks to users of
     17         Defendants'products,including Plaintiff. The ammonia contained in the cooling unit
     18         is toxic, and ifinhaled, will cause serious respiratory injury. The hydrogen gas in the
     19         cooling unit is not only explosively flammable, but acts as an asph~iate, i.e.
     20         inhalation carries the serious risk ofsuffocation and death. The sodium chromate is
     21         a known carcinogen that maybe fatal if absorbed through the skin or inhaled, and at
     22         the least causes serious respiratory injury. When released at high pressure due to a
     23         cooling unit leak, it creates a toxic cloud that permeates all porous surfaces and
     24         materials in and around the failed refrigerator, including the living spaces within the
     25         RV or boat.      The extreme flammability of the ammonia and hydrogen gases
     26         contained in the cooling unit also pose a serious safety risk to any person or property
     27         in the vicinity of the recreational vehicle or boat, in that the high.pressure release of
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      1         these gases can be ignited by any competent ignition source, including self-ignition
      2         by the high pressure release itself. The resulting refrigerator fires are difficult to
      3         extinguish due to the escape offlammable gases under high pressure, and can expand
      4         quickly outside the RV in both vertical and horizontaljets offlame to structures, other
      5         vehicles and people nearby.
      6   13.   At all times mentioned herein, Defendants had actual knowledge of the existence of
      7         the above-described design and manufacturing defects, and ofthe serious safety risks
      8         owners ofDefendants' gas absorption refrigerators unknowingly faced each time they
      9         used the product in a reasonably foreseeable manner. Defendants also had actual
     10         knowledge, at all times mentioned herein, of safer alternative designs that would
     11         render their gas absorption refrigerators safe to use for their intended purpose.
     12         Notwithstanding this knowledge,the Defendants,and each ofthem,failed and refused
     13         to modify the design of their Dometic-branded gas absorption refrigerators and
     14         cooling units to eliminate or decrease the substantial safety risks inherent therein.
     15   14.   Defendants, and each of them, at all times herein mentioned, had a duty to provide
     16         adequate instructions and warnings to owners ofRVs and boats into which Dometic-
     17         brandedgas absorption refrigerators were installed regarding risks inherent in the use
     18         ofsaid products. Defendants, and each ofthem,failed and refused to provide owners
     19         of Dometic-branded gas absorption refrigerators, including plaintiff, with any
     20         instruction or warning regarding the defects inherent in Defendants' products, either
     21         at the time of original sale, or thereafter. Rather, Defendants, and each of them,
     22         engaged in a consistent, unified and intentional effort to conceal and/or minimize the
     23         defects and risks inherent in their gas absorption refrigerators through a series of
     24         stratagems involving deception,omission ofmaterial fact and fraudulent concealment.
     25         Examples include, but are not limited to, concealment of the failure and fire claim
     26         history of Dometic-branded gas absorption refrigerators; misrepresenting the
     27         refrigerators to be safe and free of defects; and conducting untimely, inadequate and
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       1         ineffective manufacturer-initiated product recalls in 2006 and 2008 which grossly
      2          misstated the nature of the risk, and employed retrofit devices that neither addressed
      3          the root cause ofrefrigerator boiler tube failure, nor rendered the refrigerators safe to
      4          use for their intended purpose.
      5    15.   The Defendants,and each ofthem,at all timesjoined together to engage in the above-
      6          describedpattern and practice of deception, concealment and fraud for the purpose
      7          of misleading federalregulators to avoid scrutiny ofthe safety risks inherent in their
      8          products, and to conceal the defects and risks from consumers in order to continue to
      9          distribute and sell their defective gas absorption refrigerators into the American
      10         market.    Said pattern and practice was at all times known, approved, ratified and
      11         condoned by the Defendants, and each of them, and was the result of a conscious
      12         business decision by Defendants to place profits from the sale of dangerously
      13         defective refrigerators over the safety of owners of RV's and boats containing the
      14         refrigerators, and the general public. Said pattern and practice was also the result of
      15         a conscious business decision by the Defendants, and each of them, that it was
      16         cheaper to quietly pay offpersonal injury and property damage claims caused by their
      17         defective gas absorption refrigerators as they arose, rather than invest the time and
      18         money into redesigning or retrofitting their gas absorption refrigerators so that they
      19         could be operated safely, and fail benignly.
      20   16.   Between 2000 and 2015, Defendants admit that they have received at least 1,466
      21         claims involving failures and/or fires in their gas absorption refrigerators, an average
      22         rate of 2 new claims per week, resulting in personal injury and property damage
      23         claims in excess of$100,000,000.00. Plaintiffis informed and believes, and thereon
      24         alleges,that the failure/fire claim rate ofDefendants'Dometic-branded gas absorption
      25         refrigerators has continued at least at this same rate through the date of filing ofthis
      26         Complaint.
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       1                                FIRST CAUSE OF ACTION
      2                                  (Strict Products Liability)
      3    17.   Plaintiff reallege and incorporate herein by this reference each and every allegation
      4          contained in Paragraphs 1-16, supra., as if fully set forth herein.
      5    18.   On or about 2006, Plaintiff TIMOTHY CHERRY purchased a 2007 model year
      6          Weekend Warrior FSW 3200 toy hauler (previously described herein as the "RV").
      7          The RV contained, as original equipment, a Dometic-branded RM 2852 gas
      8          absorption refrigerator (previously described herein as the "REFRIGERATOR").
      9          The REFRIGERATOR was designed, manufactured, sold, distributed, constructed,
      10         manufactured and/or assembled and put into the stream ofcommerce by Defendants,
      11         and each of them.
      12   19.   Plaintiff, at all times herein mentioned, used his RV, and the REFRIGERATOR
      13         contained therein, in a way that was reasonably foreseeable to Defendants. Plaintiff
      14         did not make any alterations or modifications to the REFRIGERATOR. Plaintiff is
      15         informed and believe and thereon allege that the REFRIGERATOR was, at all times
      16         mentioned herein, substantially the same as when it left Defendants', and each of
      17         their, possession.
      18 20.     The REFRIGERATOR contained manufacturing and design defects when it left
      19         defendants' possession that created a product that was 1). different from that intended
      20         by the defendants; 2). did not perform as safely as an ordinary consumer would have
      21         expected; and 3). used a design whose risks outweighed its benefits.
      22 21.     The REFRIGERATOR had potential risks, including but not limited to a propensity
      23         to fail, leak flammable,toxic and carcinogenic gases and substances, and cause a fire,
      24         that were known by the Defendants, and each of them, at the time the
      25         REFRIGERATOR was designed, manufactured, distributed and/ar sold, or which
      26         were knowable by said Defendants by the use ofthen available scientific knowledge.
      27         The REFRIGERATOR's potential risks presented a substantial danger to users ofthe
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      1        REFRIGERATOR, including Plaintiff, and each of them. The potential risks of
      2        using the REFRIGERATOR would not have been recognized by an ordinary
      3        consumer, and were not recognized by Plaintiff.
      4 22.    Notwithstanding their actual knowledge of the potential risks of using the
      5        REFRIGERATOR, and their actual knowledge of the failure and fire claim history
      6        of their Dometic-branded gas absorption refrigerators, Defendants, and each of
      7        them, failed to adequately warn or instruct Plaintiff regarding the potential risks of
      8        use of the REFRIGERATOR, either at the time of sale or thereafter.
      9 23.    On or about April 28, 2016, Plaintiff was sleeping in his RV in Castaic, California.
      10       The RV was parked, and hooked to shore power. While Plaintiff was sleeping, the
      11       REFRIGERATOR failed due to a crack in the cooling unit boiler tube assembly,
      12       causing a leak of ammonia, hydrogen gas and sodium chromate at high pressure into
      13       the refrigerator cabinet, and from there into the living space of the RV. Plaintiff
      14       woke because he was having trouble breathing, and his throat was burning and dry.
      15       He also noticed that his chest was tight, his nose was burning, and he was short of
      16       breath. When Plaintiff opened the door into the main kitchen area ofthe RV,he was
      17       immediately hit with an overpowering smell ofammonia,which forced him out ofthe
      18       RV due to not being able to breath.
      19 22.   The RV was rendered uninhabitable due to the ammonia leak, and was contaminated
      20       with sodium chromate.      Plaintiff, a Los Angeles County Sheriff's rescue diver,

      21       sustained physical injury to his lungs and respiratory system proximately caused by
      22       his exposure to and inhalation of the toxic and carcinogenic substances released by
      23       Defendants' defective gas absorption refrigerator.            Plaintiffls injuries required

      24       medical treatment, and prevented him from performing his usual occupation.
      25       Plaintiffs' exposure and inhalation oftoxic and carcinogenic substances will require
      26       future medical treatment, including, but not limited to, medical monitoring costs.
      27       Plaintiffalso suffered severe emotional distress as a result ofthe REFRIGERATOR's
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       1       failure and leak of toxic and carcinogenic gases and substances. Plaintiff was
      2        compelled to incur out-of-pocket expenses as a result of the failure of the
      3        REFRIGERATOR, as well as damage/destruction to his personal property and
      4        diminution in value/loss of use of his RV. Plaintiff is informed and believes and
      5        thereon alleges that the REFRIGERATOR's failure and leak of toxic and
      6        carcinogenic gases and substances, and the injuries and damages to Plaintiff, were the
      7        direct and proximate result of the defects in the design and/or manufacture of the
      8        REFRIGERATOR and/or the failure to adequately instruct or warn ofthe risks ofuse
      9        thereof, by Defendants, and each of them, as described herein.
      10 23.   As a direct and proximate result of the Defendants, and each of them, designing,
      11       manufacturing, selling, distributing and putting into the stream of commerce the
      12       defectively designed andlor manufactured REFRIGERATOR, andlor the failure to
      13       adequately instruct or warn of the risks of use thereof, the. Plaintiff is entitled to
      14       damages, as set forth below, the exact amount of which will be established at trial
      15       according to proof. .
      16 24.   Since at least 2000, the Defendants, and each of them, had actual knowledge of
      17       design and manufacturing defects in their gas absorption refrigerators that created a
      18       propensity for the products to leak toxic and carcinogenic gases and substances and
      19       cause fires when used in a reasonably foreseeable manner. As of April 28, 2016,
      20       Defendants, and each ofthem, had actual knowledge of over 1,500 claims involving
      21       failures and fires in their gas absorption refrigerators.     As of April 28, 2016,

      22       Defendants, and each ofthem, had actual knowledge that their campaigns to retrofit
      23       their gas absorption refrigerators were inadequate, incomplete, and that the external
      24       devices to cut off electric power to the units did not prevent the units from cracking
      25       and leaking flammable and toxic gases and substances,or igniting fires, and therefore
      26       failed to render the Dometic-branded refrigerators safe to use for their intended
      27       purpose.    Defendants, and each of them, knew -but concealed -that their gas
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       1         absorption refrigerators continued to fail due to the above-described design and/or
      2          manufacturing defects, exposing owners and the general public to toxic and
      3          carcinogenic substances and fires, in spite of the retrofits. Notwithstanding their
      4          actual knowledge of the defects present in their products, and the risk of serious
      5          injury and death inherent in the foreseeable use oftheir products,the Defendants,and
      6          each of them, failed to correct the defects and eliminate the potential risks to
      7          individuals using their product, including Plaintiff. Defendants further failed to
      8          otherwise notify or warn Plaintiffofthe known risks and dangers inherent in the use
      9          of the REFRIGERATOR. As a direct and proximate result of the Defendants'
      10         conduct, Plaintiff continued to use the REFRIGERATOR,unaware of the risks and
      11         dangers, until it failed, causing the Plaintiff severe injuries and damages, as alleged
      12         herein. The Defendants', and each of their, conduct was despicable, and was in
      13         conscious disregard for the rights and safety of others, including Plaintiff, therefore
      14         entitling Plaintiff to an award of punitive damages according to proof at trial.
      15         WHEREFORE,Plaintiffs pray judgment as set forth below.
      16                               SECOND CAUSE OF ACTION
      17                                         (Negligence)
      18   25.   Plaintiffs reallege and incorporate herein by this reference each and every allegation
      19         of Paragraphs 1 - 24as if fully set forth herein.
      20 26.     The Defendants, and each ofthem, had a duty to Plaintiffs to use the amount of care
      21         a reasonably careful designer, manufacturer, distributor, supplier and/or installer
      22         would use in the design, manufacture, distribution, supply, and installation of the
      23         REFRIGERATOR to avoid exposing Plaintiff to a foreseeable risk of harm. The
      24         Defendants, and each of them, also had a duty to Plaintiff to use reasonable care to
      25         warn Plaintiffs at the time of sale about risks or dangers regarding the use of the
      26         REFRIGERATOR,or facts that made the REFRIGERATOR likely to be dangerous,
      27         and of which defendants knew, or reasonably should have known, the Plaintiff was
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       1       unaware.
      2 27.    The Defendants, and each of them, breached their duty to Plaintiff by failing to use
      3        reasonable care in the design, manufacture, distribution,supply and installation ofthe
      4        REFRIGERATOR.
      5 28.    Defendants, and each of them, knew or should have known that the Plaintiff was
      6        unaware of the risks and dangers of the use of the REFRIGERATOR,and the facts
      7        that made the REFRIGERATOR likely to be dangerous, but breached their duty to
      8        Plaintiff by failing to use reasonable care to adequately instruct or warn Plaintiff
      9        thereof.
      10 29.   As a direct and proximate result of the defendants' breach of duty to Plaintiffs, and
      11       each of them, described above, Plaintiff has been damaged as set forth herein in an
      12       exact amount which will be established at trial according to proof.
      13 30.   Since at least 2000,the Defendants,and each ofthem,had actual knowledge ofdesign
      14       and manufacturing defects in their gas absorption refrigerators that created a
      15       propensity for the products to leak toxic and carcinogenic gases and substances and
      16       cause fires when used in a reasonably foreseeable manner. As of Apri128, 2016,
      17       Defendants, and each ofthem, had actual knowledge of over 1,500 claims involving
      18       failures and fires in their gas absorption refrigerators.     As of April 28, 2016,

      19       Defendants, and each of them, had actual knowledge that their campaigns to retrofit
      20       their gas absorption refrigerators were inadequate, incomplete, and that the external
      21       devices to cut off electric power to the units did not prevent the units from cracking
      22       and leaking flammable and toxic gases and substances,or igniting fires, and therefore
      23       failed to render the Dometic-branded refrigerators safe to use for their intended
      24       purpose.    Defendants, and each of them, knew -but concealed -that their gas
      25       absorption refrigerators continued to fail due to the above-described design andlor
      26       manufacturing defects, exposing owners and the general public to toxic and
      27       carcinogenic substances and fires, in spite of the retrofits. Notwithstanding their
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       1         actual knowledge of the defects present in their products, and the risk of serious
      2          injury and death inherent in the foreseeable use oftheir products,the Defendants,and
      3          each of them, failed to correct the defects and eliminate the potential risks to
      4          individuals using their product, including Plaintiff. Defendants further failed to
      5          otherwise notify or warn Plaintiff ofthe known risks and dangers inherent in the use
      6          of the REFRIGERATOR. As a direct and proximate result of the Defendants'
      7          conduct, Plaintiff continued to use the REFRIGERATOR,unaware of the risks and
      8          dangers, until it failed, causing the Plaintiff severe injuries and damages, as alleged
      9          herein. The Defendants', and each of their, conduct was despicable, and was in
      10         conscious disregard for the rights and safety of others, including Plaintiff, therefore
      11         entitling Plaintiff to an award of punitive damages according to proof at trial.
      12         WHEREFORE, Plaintiffs pray judgment as set forth below.
      13                                THIRD CAUSE OF ACTION
      14                          (Negligence -Post Sale Duty to Warn)
      15   31.   Plaintiff reallege and incorporate herein by this reference each and every allegation
      16         of Paragraphs 1 - 30 as if fully set forth herein.
      17 32.     The Defendants, and each of them, had a duty to warn Plaintiff of risks and/or
      18         dangerous     propensities in their gas absorption refrigerators, including the
      19         REFRIGERATOR, that they became aware ofafter their product was placed into the
      20         stream of commerce.
      21   33.   The Defendants, and each of them, knew or should have known that their gas
      22         absorption refrigerators, including the REFRIGERATOR, had a propensity to fail,
      23         leak toxic and carcinogenic substances, and ignite dangerous fires after placed into
      24         the stream of commerce, and used in a reasonably foreseeable manner.
      25   34.   Defendants, and each of them, breached their duty to Plaintiff by failing to warn
      26         Plaintiff of the dangerous propensities of the REFRIGERATOR prior to April 28,
      27         2016.
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                                             COMPLAINT FOR DAMAGES
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       1   35.   As a direct and proximate result of the Defendants' breach of duty to Plaintiff, and
      2          each ofthem, described above,Plaintiff have been damaged as set forth herein in an
      3          exact amount which will be established at trial according to proof.
      4 36.      Since at least 2000, the Defendants, and each of them, had actual knowledge of
       5         design and manufacturing defects in their gas absorption refrigerators that created a
      6          propensity for the products to leak toxic and carcinogenic gases and substances and
       7         cause fires when used in a reasonably foreseeable manner. As of Apri128, 2016,
       8         Defendants, and each ofthem, had actual knowledge of over 1,500 claims involving
      9          failures and fires in their gas absorption refrigerators.        As of April 28, 2016,
      10         Defendants, and each of them, had actual knowledge that their campaigns to retrofit
      11         their gas absorption refrigerators were inadequate, incomplete, and that the external
      12         devices to cut off electric power to the units did not prevent the units from cracking
      13         and leaking flammable and toxic gases and substances, or igniting fires, and therefore
      14         failed to render the Dometic-branded refrigerators safe to use for their intended
      15         purpose.   Defendants, and each of them, knew -but concealed -that their gas
      16         absorption refrigerators continued to fail due to the above-described design and/or
      17         manufacturing defects, exposing owners and the general public to toxic and
      18         carcinogenic substances and fires, in spite of the retrofits. Notwithstanding their
      19         actual knowledge of the defects present in their products, and the risk of serious
      20         injury and death inherent in the foreseeable use oftheir products,the Defendants,and
      21         each of them, failed to correct the defects and eliminate the potential risks to
      22         individuals using their product, including Plaintiff.        Defendants further failed to

      23         otherwise notify or warn Plaintiff ofthe known risks and dangers inherent in the use
      24         of the REFRIGERATOR. As a direct and proximate result of the Defendants'
      25         conduct, Plaintiff continued to use the REFRIGERATOR,unaware of the risks and
      26         dangers, until it failed, causing the Plaintiff severe injuries and damages, as alleged
      27         herein. The Defendants', and each of their, conduct was despicable, and was in
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       1       conscious disregard for the rights and safety of others, including Plaintiff, therefore
      2 ,      entitling Plaintiff to an award of punitive damages according to proof at trial.
      3        WHEREFORE,Plaintiffs pray judgment as set forth below.
      4                             FOURTH CAUSE OF ACTION
       5                   (Negligence -Post Sale Duty to RecalURetrofit)
      6 37.    Plaintiffs reallege and incorporate herein by this reference each and every allegation
       7       of Paragraphs 1 - 36 as if fully set forth herein.
       8 38.   The Defendants, and each of them, had a duty to recall or retrofit the
       9       REFRIGERATOR once the Defendants knew, or should have known, that the
      10       REFRIGERATOR was dangerous or was likely to be dangerous when used in a
      11       reasonably foreseeable manner.
      12 39.   Defendants, and each of them, knew or should have known that the
      13       REFRIGERATOR was so defectively designed, manufactured, supplied and/or
      14       installed as to be dangerous, or likely to be dangerous, when used in a reasonably
      15       foreseeable manner, but breached their duty to Plaintiffby failing to conduct a timely,
      16       comprehensive, effective and/or adequate recall and/or retrofit campaign.
      17 40.   As a direct and proximate result of the defendants' breach of duty to Plaintiff, and
      18       each of them, described above, Plaintiff has been damaged as set forth herein in an
      19       exact amount which will be established at trial according to proof.
      20 41.   Since at least 2000, the Defendants, and each of them, had actual knowledge of
      21       design and manufacturing defects in their gas absorption refrigerators that created a
      22       propensity for the products to leak toxic and carcinogenic gases and substances and
      23       cause fires when used in a reasonably foreseeable manner. As of Apri128, 2U 16,
      24       Defendants, and each ofthem, had actual knowledge of over 1,500 claims involving
      25       failures and fires in their gas absorption refrigerators.      As of April 28, 2016,

      26       Defendants, and each of them, had actual knowledge that their campaigns to retrofit
      27       their gas absorption refrigerators were inadequate, incomplete, and that the external
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       1       devices to cut off electric power to the units did not prevent the units from cracking
      2        and leaking flammable and toxic gases and substances, or igniting fires, and therefore
      3        failed to render the Dometic-branded refrigerators safe to use for their intended
      4        purpose.   Defendants, and each of them, knew -but concealed -that their gas

      5        absorption refrigerators continued to fail due to the above-described design and/or
      6        manufacturing defects, exposing owners and the general public to toxic and
      7        carcinogenic substances and fires, in spite of the retrofits. Notwithstanding their
      8        actual knowledge of the defects present in their products, and the risk of serious
      9        injury and death inherent in the foreseeable use oftheir products, the Defendants, and
      10       each of them, failed to correct the defects and eliminate the potential risks to
      11       individuals using their product, including Plaintiff.         Defendants further failed to

      12       otherwise notify or warn Plaintiff ofthe known risks and dangers inherent in the use
      13       of the REFRIGERATOR.          As a direct and proximate result of the Defendants'
      14       conduct, Plaintiff continued to use the REFRIGERATOR,unaware of the risks and
      15       dangers, until it failed, causing the Plaintiff severe injuries and damages, as alleged
      16       herein. The Defendants', and each of their, conduct was despicable, and was in
      17       conscious disregard for the rights and safety of others, including Plaintiff, therefore
      18       entitling Plaintiff to an award of punitive damages according to proof at trial.
      19       WHEREFORE,Plaintiff prays judgment as set forth below.
      20                                          COUNT V

      21                                   (Negligence Per Se)
      22 42.   Plaintiffs re-allege and incorporate herein paragraphs 1 through 41 as iffully set forth
      23       herein.
      24 43.   The Defendants' Dometic-branded gas absorption refrigerators, including the
      25       REFRIGERATOR, are motor vehicle "equipment" subject to the jurisdiction of the
      26       National Highway and Traffic Safety Administration(NHTSA). Pursuant to USC
      27       § 301180 and 49 C.F.R. §§ 573.3(e)(fl, 573.6(a), the Defendants, and each ofthem,
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       1       had a statutory duty to report potential safety related defects in their gas absorption
      2        refrigerators to NHTSA within five (5) days of a good faith determination of their
      3        existence, and to initiate a comprehensive and effective recalUretrofit campaign to
      4        eliminate said safety related defects.           Pursuant to 49 U.S.C. §§ 301660 and

      5        30166(e), the Defendants, and each of them, also had a statutory duty to provide
      6        timely, accurate, and complete information to NHTSA regarding said product safety
      7        recalls, and/or in response to requests in connection with the investigation ofpotential
      8        risks to safety.
      9 44.    The purpose of the above-described statutory scheme was and is to impose a duty
      10       upon equipment manufacturers to monitor, identify and eliminate potential risks to
      11       safety created by their products through manufacturer-initiated recall and retrofit
      12       campaigns, and to thereby protect the lives and property of owners of defective
      13       products affecting motor vehicle safety, and the general public.
      14 45.   The Defendants, and each of them, knew or should have known that their gas
      15       absorption refrigerators, including the REFRIGERATOR, were so defectively
      16       designed, manufactured, supplied and/or installed as to be dangerous, or likely to be
      17       dangerous, when used in a reasonably foreseeable manner, but violated the
      18       above-described statutory scheme by failing and refusing to conduct a timely,
      19       comprehensive and effective recall and retrofit campaign to eliminate the safety risks
      20       to owners and the general public inherent in their gas absorption refrigerators,
      21       including the Refrigerator, as set forth herein.
      22 46.   Plaintiff is a member of the class of persons the above-described statutory scheme
      23       was designed to protect.
      24 47.   Plaintiffs' damages, as set forth herein, were the direct, legal and proximate result of
      25       the Defendants',and each oftheir, violation ofthe above-described statutory scheme
      26       requiring said defendants to initiate and prosecute a timely, comprehensive and
      27       effective recall and retrofit campaign. The exact amount of Plaintiffs' damages will
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       1        be established at trial according to proof.
      2         WHEREFORE,Plaintiff prays judgment against the Defendants, and each of them,
      3 jointly and severally, as follows:
      4    1.   For compensatory damages for destruction andlor damage,diminution in value and/or
      5         loss of use of personal property, according to proof;
      6 2.      For compensatory damages for bodily injury and emotional distress, including, but
      7         not limited to, hospital and medical expenses, and costs for continuing medical
      8         monitoring, according to proof;
      9 3.      For wage loss and/or loss of earning capacity;
      10 4.     For general damages, according to proof;
      11   5.   For punitive damages according to proof;
      12 6.     For prejudgment interest at the legal rate according to proof;
      13 7.     For such other and further relief as the Court may deem proper.
      14
      15
      16 DATED:        September 11, 2017
      17                                               TERRENCE A. BEARD
      18                                               Attorney for Plaintiff TIMOTHY CHERRY
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